                    Case 3:16-cv-02748-ADC Document 1-3 Filed 09/29/16 Page 1 of 2

DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of Puerto Rico

                                                                   )
                                                                   )
                                                                   )
Jose A. Cruz-Kerkado, et al.                                       )
                          Plaintiff(s)                             )
                                                                   )
                              v.                                           Civil Action No. 3:16-cv-2748
                                                                   )
                                                                   )
                                                                   )       Second Amendment/Fundamental Rights
                                                                   )
Commonwealth of Puerto Rico, et al.                                )
                         Defendant(s)                              )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Commonwealth of Puerto Rico's Department of Justice a/k/a Departamento de Justicia
Calle Olimpo, Esq. Axtmayer, Pda. 11 Miramar, San Juan, PR Tel. (787) 721-2900


         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — or 90 days in a Social Security Action — you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on
the plaintiff or plaintiff’s attorney, whose name and address are:
Humberto Cobo-Estrella, Esq. USDC-PR230108                             Email: hcobo@hcounsel.com

PO Box 366451 San Juan, Puerto Rico 00936-6451


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             FRANCES RIOS DE MORAN, ESQ.
                                                                             CLERK OF COURT


Date:   09/29/2016
                                                                                       Signature of Clerk or Deputy Clerk
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Civil Action No.

                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                          .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


          My fees are $                         for travel and $                     for services, for a total of $                     .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc:

_______________________________________________________________________________________________
